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                                                                     USDCRevised
                                                                          SDNY November 14, 2019
                                                                     DOCUMENT
UNITED STATES DISTRICT COURT                                         ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                        DOC #: _________________
 ------------------------------------------------------------- X     DATE FILED: 10/21/20
                                                               :
 ROY TAYLOR,                                                   :
                                                               :
                                                               :
                                               Plaintiff,      :
                                                               :        1:16-cv-01143-GHW
                              -v-                              :
                                                               :       AMENDED ORDER
 NYPD OFFICER ALYSSA TRIGENO,                                  :
 NYPD SGT. MICHAEL DUNLAVEY,                                   :
 RIKERS C.O. QUAYYUM, and CITY OF                              :
 NEW YORK,                                                     :
                                                               :
                                            Defendants. :
                                                               :
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GREGORY H. WOODS, District Judge:

         It is hereby ORDERED that all parties appear via telephone for a teleconference regarding

Defendants’ motion to extend the stay and Plaintiff’s motion to lift the stay, Dkt. Nos. 119 and 122,

on November 5, 2020 at 4:30 p.m.

         IT IS FURTHER ORDERED that the Warden or other official in charge of the Anna M.

Kross Center at Rikers Island produce Roy Taylor, 04528137Q, on November 5, 2020, no later than

4:30 p.m., to a suitable location within the Anna M. Kross Center that is equipped with a telephone,

for the purpose of participating by telephone in a conference with the Court and defense counsel.

         If this time and date presents an inconvenience, the Warden or the Warden’s designee

should promptly inform Chambers emailing the Court at woodsnysdchambers@nysd.uscourts.gov.

         Defense counsel is directed to (1) send this order to the Warden immediately; (2) contact the

correctional facility to confirm its ability to connect the plaintiff to the conference at the conference

number listed below at the date and time of the conference; and (3) to the extent that the
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correctional facility is unable to dial into the conference line directly, to make other arrangements for

the plaintiff to connect to the conference at the date and time listed above.

        The conference will be held by telephone. The conference call dial-in number is (888) 557-

8511 and the access code is 7470200#. The Warden of the correctional facility is directed to

connect the plaintiff to that number at the date and time specified above.

        The Clerk of Court is directed to mail a copy of this order to the plaintiff by first class and

certified mail.

        SO ORDERED.


 Dated: October 20, 2020                                     _____________________________________
                                                                    GREGORY H. WOODS
                                                                   United States District Judge




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